Case 7:17-cv-00539-VB-AEK Document 162 Filed 10/20/20 Page 1 of 2

 

UNITED STATES DISTRICT COURT : 3

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SOUTHERN DISTRICT OF NEW YORK an USDC SDNY ;

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JEROME ANDERSON, : AL ELECPRONICALLY boi ia |

Plaintiff, : DOC #: ; .

v. DATE FILED: (eg) A

SGT. ROBERT OSBORNE; : AMENDED JUDGMENT }
C.0. MATTHEW ERNST; : _ |
C.O. JAMES HENNIG; : 17 CV 539 (VB) |

C.O. ROBERT SNEDEKER;
C.O. JOSE MOREL; and
C.0. WARREN FREEMAN,
Defendants.
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It is hereby ORDERED, ADJUDGED, AND DECREED:

That on August 13, 2018, the Court dismissed with prejudice plaintiff Jerome Anderson’s
claims against defendants Sergeant Gordon Perry, Registered Nurse Ching Wang, Registered
Nurse S. Ganet, Doctor Bentivegna, Hearing Officer Eric Gutwein, and Pre-Hearing Assistant
Randall Berstell;

That on December 23, 2019, the Court dismissed with prejudice plaintiff Jerome
Anderson’s claims against defendants Correction Officers Luis Cabrera and Christina Lorenzo;

That plaintiff Jerome Anderson’s claims against defendant Sergeant John Carter are
dismissed, as a suggestion of death as to Sergeant Carter was filed on May 22, 2019, and plaintiff
did not move to substitute Sergeant Carter’s estate as a defendant in this action;

That after a Jury Trial before the Honorable Vincent L. Briccetti, United States District
Judge, plaintiff Jerome Anderson have judgment for compensatory damages against defendants
Sergeant Robert Osborne and Correction Officers Matthew Ernst, James Hennig, and Robert
Snedeker, in the amount of $75,000.00; plaintiff have judgment for punitive damages against
Sergeant Robert Osborne in the amount of $275,000.00; plaintiff have judgment for punitive

damages against Correction Officer Matthew Ernst in the amount of $125,000.00; plaintiff have
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Case 7:17-cv-00539-VB-AEK Document 162 Filed 10/20/20 Page 2 of 2

judgment for punitive damages against Correction Officer James Hennig in the amount of
$125,000.00; and plaintiff have judgment for punitive damages against Correction Officer
Robert Snedeker in the amount of $50,000.00;
That on February 12, 2020, during the aforesaid Jury Trial, plaintiff Jerome Anderson
dismissed with prejudice his claims against defendant Correction Officer Christopher Dillon; and
That plaintiff Jerome Anderson’s claims against Correction Officers Jose Morel and
Warren Freeman are dismissed, because following the aforesaid Jury Trial, the jury found in
favor of Correction Officers Morel and Freeman as to plaintiff's claims against them.
Dated: October 20, 2020

White Plains, NY
SO ORDERED: -

ut,

Vincent L. Briccetti
United States District Judge

 
